                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

JAMES CUMMINS,                              )       No. CV04-1028 EJM
                                            )
                      Plaintiff,            )
                                            )
vs.                                         )       STATEMENT OF INTEREST
                                            )
THE ARCHDIOCESE OF DUBUQUE,                 )
                                            )
                      Defendant.            )


       As required by LR 3.2 and LR 81.1(c), (d), and (e), James Cummins, Plaintiff in this
case, provides the following information to the court:


      (a) The following are the names of all associations, firms, partnerships,
corporations, and other artificial entities that either are related to the Plaintiff as a parent,
subsidiary, or otherwise, or have a direct or indirect pecuniary interest in the Plaintiff’s
outcome in the case:

       James Cummins.

       (b) With respect to each entity named in response to (a), the following describes
its connection to or interest in the litigation, or both:

       Plaintiff.


Date: June 22, 2004




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                                                               Respectfully Submitted,
                                                               DUTTON, BRAUN, STAACK & HELLMAN, P.L.C
                                                               Attorneys for the Plaintiff


                                                         BY:   /s/ Thomas L. Staack
                                                                      Thomas L. Staack Iowa Bar #000005220
                                                                      LEAD COUNSEL

                                                         BY:   /s/ Chad A. Swanson
                                                                      Chad A. Swanson Iowa Bar #000014657

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                                                                        swansonc@wloolaw.com

Original Filed.

Copy to:

Brendan Quann                                                                PROOF OF SERVICE
O’Connor & Thomas, P.C.
                                                           The undersigned certifies that the foregoing instrument
700 Locust Street, Suite 200
                                                           was served upon all parties to the above cause to each of
Dubuque, Iowa 52001-6874                                   the attorneys of record herein at their respective
                                                           addresses disclosed on the pleadings, on the 22nd day of
                                                           June 2004.

                                                           By: _X_   U.S. Mail            ___ FAX
I:\Lit\TLS\Cummins\Pleadings\Statement of Interest.wpd         ___   Hand Delivered       ___ UPS
                                                               ___   Federal Express      ___ Other
                                                               ___   EFC System Participate (Electronic Service)

                                                           Signature: /s/ Chad A. Swanson




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